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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Civil Action No. 1:25-cv-00165

FEDERAL TRADE COMMISSION, and STATE OF COLORADO, ex rel. PHILIP J.
WEISER, ATTORNEY GENERAL,

       Plaintiffs,

v.

GREYSTAR REAL ESTATE PARTNERS, LLC, d/b/a “Greystar,” a limited liability
company; GREP GENERAL PARTNER, LLC, d/b/a “Greystar,” a limited liability
company; GREYSTAR MANAGEMENT SERVICES, LLC, d/b/a “Greystar,” a limited
liability company; GREYSTAR RS NATIONAL, LLC, d/b/a “Greystar,” a limited liability
company; GREYSTAR CALIFORNIA, INC., d/b/a “Greystar,” a corporation; GREP
SOUTHWEST, LLC, d/b/a “Greystar,” a limited liability company,,

       Defendants.


                                ENTRY OF APPEARANCE


To the clerk of court and all parties of record:

       I hereby certify that I am a member in good standing of the bar of this court, and I

appear in this case as counsel for the Federal Trade Commission.

       DATED at San Francisco, California, this 10th day of February, 2025.


                                                   /s/ Alyssa J.H. Wu
                                                   Alyssa J.H. Wu
                                                   Cal. Bar No. 339651
                                                   Federal Trade Commission
                                                   Western Region San Francisco
                                                   90 7th Street, Suite 14-300
                                                   San Francisco, CA 94103
                                                   Tel: (415) 848-5100
                                                   Email: awu1@ftc.gov
                                                   Attorney for Plaintiff Federal Trade
                                                   Commission



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                               CERTIFICATE OF SERVICE

I hereby certify that on this 10th day of February, 2025, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system which will send
notification of such filing to the following email addresses:

sbennett@ftc.gov
rtonelli@ftc.gov
sscoville@ftc.gov
adam.rice@coag.gov
julie.cramer@coag.gov
sarah.silver@coag.gov
bhenthorne@jenner.com
hledwell@jenner.com
jsitton@jenner.com
jarmstrong@jenner.com
lharrison@jenner.com



I hereby certify that I have mailed or served the foregoing document or paper to the
following non-CM/ECF participants in the manner (mail, hand-delivery, etc.) indicated by
the non-participant’s name:



                               ,
                                          ,



                                              /s/ Alyssa J.H. Wu
                                                Alyssa J.H. Wu
                                                Cal. Bar No. 339651
                                                Federal Trade Commission
                                                Western Region San Francisco
                                                90 7th Street, Suite 14-300
                                                San Francisco, CA 94103
                                                Tel: (415) 848-5100
                                                Email: awu1@ftc.gov
                                                Attorney for Plaintiff Federal Trade
                                                Commission




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